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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

WILLIAM A. LINK, et al.,

             Plaintiffs,

v.                                           Case No.: 4:21cv271-MW/MAF

RICHARD CORCORAN, et al.,

          Defendants,
___________________________________/

                 ORDER GRANTING IN PART AND
        DENYING IN PART MOTION FOR PROTECTIVE ORDER

      This case involves a constitutional challenge to recently enacted legislation—

HB 233—related to speech and viewpoint diversity in Florida’s public colleges and

universities. Pending before this Court is Defendants’ motion for protective order as

to the Board of Governors’ 30(b)(6) deposition notice, ECF No. 113. The Board

seeks to shield their corporate representative from having to testify regarding the

following deposition topics:

            9. Your policies, documents, and communications concerning the
      Board’s understanding, oversight, and implementation of objective
      non-discriminatory instruction in Florida’s public schools, including
      the Board’s identification of distortive or discriminatory lessons,
      subjects, or instructional materials.

            10. Your policies, documents, and communications concerning
      the Board’s use or understanding of the following terms:
      “indoctrination,” “liberal ideology,” “stale ideology,” the “liberal
      agenda,” the “progressive agenda,” “socialism,” the “woke mob,”
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      “cancel culture,” the “radical left,” “critical race theory,” the “1619
      Project,” “social and emotional learning,” “diversity, equity, and
      inclusion,” “racial colorblindness,” “censorship,” “intellectual
      freedom,” or “academic freedom” from January 2019 to the present.

ECF No. 113-1 at 9-10.

      Generally, courts take a permissive view of discovery. Likewise, “[t]he

Federal Rules of Civil Procedure strongly favor full discovery whenever possible.”

Farnsworth v. Procter & Gamble Co., 758 F.2d 1545, 1547 (11th Cir. 1985). This

is because “[r]ules favoring broad discovery help ‘make a trial less a game of blind

man’s bluff and more a fair contest with the basic issues and facts disclosed to the

fullest practicable extent.’ ” Odom v. Roberts, 337 F.R.D. 359, 362 (N.D. Fla. 2020)

(quoting United States v. Procter & Gamble Co., 356 U.S. 677, 682 (1958)).

      But discovery has limits. Rule 26(c) allows “[a] party or . . . person from

whom discovery is sought [to] move for a protective order,” Fed. R. Civ. P. 26(c)(1),

which this Court may grant if the moving party establishes good cause. In re:

Chiquita Brands Int’l, Inc., 965 F.3d 1238, 1249 (11th Cir. 2020). Ordinarily, that

means the party seeking a protective order must show “specific prejudice or harm

will result if” this Court does not issue a protective order. Odom, 337 F.R.D. at 362.

“[T]he movant must meet this burden with a ‘particular and specific demonstration

of fact as distinguished from stereotyped and conclusory statements.’ ” Ekokotu v.

Fed. Express Corp., 408 F. App’x 331, 336 (11th Cir. 2011) (quoting United States

v. Garrett, 571 F.2d 1323, 1326 n.3 (5th Cir. 1978)).
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       In moving for a protective order, Defendants argue that these two deposition

topics “have nothing to do with HB 233.” ECF No. 113 at 3. Defendants assert

Topics 9 and 10 “are irrelevant and disproportionate to the needs of this case,” and

are instead “aimed at different, subsequently-enacted legislation . . . and out-of-

context remarks plucked from news articles about various proposed or later-enacted

bills[.]” Id. at 6.

       But parties cannot unilaterally “dictate the scope of discovery based on their

own view of the parties’ respective theories of the case.” Sentis Grp., Inc. v. Shell

Oil Co., 763 F.3d 919, 925 (8th Cir. 2014). While Plaintiffs’ deposition topics

involve policies and buzzwords related to other legislation for which the Board is

partially responsible for enforcing and which is also tailored to postsecondary public

education, the mere fact that Plaintiffs have noticed broad deposition topics does not

entitle Defendant to a protective order. “Parties may obtain discovery regarding any

nonprivileged matter that is relevant to any party’s claim or defense and proportional

to the needs of the case.” Fed. R. Civ. P. 26(b)(1).

       Here, Plaintiffs allege the challenged provisions under HB 233 violate their

constitutional rights by infringing on their freedom of expression, freedom from

viewpoint discrimination, and freedom of association. See ECF No. 101. In addition,

Plaintiffs allege that the challenged provisions are vague in violation of the

Fourteenth Amendment. Id. Plaintiffs’ theory frames the challenged provisions of

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HB 233 as part of a broader effort by Florida lawmakers to “target and chill certain

viewpoints with which [the law’s] proponents disagree,” specifically in the context

of Florida’s public education system. Id. ¶ 6.

      Contrary to Defendants’ assertion that the challenged topics are wholly

irrelevant to Plaintiffs’ claims because they appear to be directed at subsequently-

enacted legislation, Defendants ignore the fact that Florida’s Board of Education had

proposed to ban instruction in critical race theory and the 1619 Project in K-12

public schools before HB 233 was signed into law. See Fla. Admin. Code R. 6A-

1.094124 (2021), https://www.flrules.org/gateway/ruleNo.asp?id=6A-1.094124,

(noting June 14, 2021 change to proposed rule banning critical race theory and the

1619 Project); Governor Ron DeSantis Signs Legislation to Set the Pace for Civics

Education    in   America,    GOVERNOR RON DESANTIS,             (June    22,   2021),

https://www.flgov.com/2021/06/22/governor-ron-desantis-signs-legislation-to-set-

the-pace-for-civics-education-in-america/ (noting that HB 233 was signed into law

on June 22, 2021).

      Moreover, this Court agrees with Plaintiffs that investigating “extratextual

evidence” is the essential purpose of the Arlington Heights test—a test that this Court

has already endorsed as the appropriate analytical framework to address Plaintiffs’




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claims. See, e.g., ECF No. 102 at 3–4.1 Thus, Defendants’ complaint that Topics 9

and 10 include terms that are not found in the challenged law carries little, if any,

weight.

        Plaintiffs do concede, however, that Topic 9 is too broadly phrased with

respect to “Florida’s public schools,” which include K-12 education over which the

Board of Governors has no authority. See ECF No. 120 at 6. Accordingly,

Defendants’ motion for protective order is GRANTED in part. Plaintiffs are limited

to questioning the Board’s 30(b)(6) witness about postsecondary education and may

not inquire about Florida’s K-12 public schools with respect to Topic 9. As to the

balance of Defendants’ motion, ECF No. 113, they have failed to establish good

cause for issuance of a protective order. Accordingly, the motion, ECF No. 113, is

otherwise DENIED in part. Nonetheless, this Court reminds Plaintiffs that “[u]nless

otherwise stipulated or ordered by the court, a deposition is limited to one day of 7




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         This Court recognizes that Defendants also object to the deposition topics insofar as they
assert HB 233 does not regulate speech, and, that if any intent is relevant, it is only the Legislature’s
intent that this Court should consider. Defendants’ objections are noted. However, as this Court
has already ruled, Plaintiffs assert a cognizable theory that the challenged provisions violate the
First Amendment under Reed, and that the Board’s intent—and, for example, evidence related to
the way Defendants implement the survey provisions—are relevant to show the challenged
provisions’ effects under the Arlington Heights test. See ECF No. 102 at 4; see also ECF No. 90
at 3–4.
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hours,” Fed. R. Civ. Proc. 30(d)(1), and thus they should use their time wisely with

respect to all the topics noticed for this deposition.

      SO ORDERED on July 11, 2022.
                                         s/Mark E. Walker
                                         Chief United States District Judge




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